Case 2:18-cV-02117-KDE-I\/|BN Document 1-2 Filed 02/28/18 Page 1 of 24

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No. 2017- Q 37 i)IvlsioN “N"
M.s. RAU ANTIQUES, L.L.c. '

(formerly M.S. Rau, Inc.)

SECTION `?`8

SIDNEY-O. LAIV[BERT, ROBIN A. STEAD & JANE/JOHN DOE

VERSUS

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Antiques, L.L.C (forrnerly M.S. Rau, lnc.), ilni§re§'§l_icif;illdili%p esents the following Petition l

 

for Revo<;atory Action pursuant to LA. C.C. Art;zq§ld:ot.areq.: 1.-31.¢20~1'.\' 4:2?1:-3 Pr-,i
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M.S. Rau Antiques, LLC, formerly M§§g%§%g€M%§’§@jH§§;wmam-_”

 

limited liability company domiciled in OrlearfsrPanislt;tllouisianaB 510.0\3_
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galan-2a Due ?B 1100
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Sidney O. Lambert (“Lambert”) at all-times're vant'heretu'wa§apersoir'offuil'uge_“

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and majority and a resident of and believed to l)"eddto'nii'c'il§d iii Or ecan$s Vans'ii, Louisiana.

3.

 

_ _ item Charge Fald E\a|
Robin A. Stead (“Stead”) at all times ;e,iE¥-lz|i_i}lt,l|reret%yyaas a pers%rhg§§i\ll Mn§b $D',m

l l l to n)'._]_u::lg|rr\_er\i: _ . .
majority and a resident of and believed to beMM?éie§:ll%@rl°a“S Pansh$\i¢'.@-H*lm%.§€‘ ~“v“J-C‘C‘

_ _ _ Buil\:lin»q Fund F»'=e $2-_5.|]0 $_25.13\'.1 !Iil§l.£l\fl

Stead is a proper party to this action pursuantl tel \lg@n¢,_(;g§}:t£042. Stea@§gip vvdi`% §§ w _UD

JB'J $24.00 $24.|:\13 $\Z\.\I\lf\

Lambert. E=i:hibit~s-L'P.qp»zn $e _an $e.mo $D.C\D
4.

   
  
  

Jane/John Doe at all times relevant hereto was a person or persons of full age and
majority and believed to be a resident of and domiciled in Orlearis Parish, Louisiana.

Jane/John Doe is a proper party to this action pursuant to La. C.C. Art 2042.

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Case 2:18-cV-02117-KDE-I\/|BN Document 1-2 Filed 02/28/18 Page 2 of 24

5.

Jurisdiction and venue are proper since the M.S. R_au’s place of business is in
Orleans Parish, Louisiana, the transactions forming the basis of this suit took place in
Orleans Parish, Louisiana and the named defendants are domiciled in Orleans Parish,
Louisiana.

BACKGROUND
6.

On or about May 23, 1997, Stead and Lambert purchased as co-owners by Act of
Cash Sale tlie immovable property located at Lot E, Square 83, Seventh District, Orleans
Pa.rish, Louisiana bearing the municipal address of 721-23 Short Street, New Orleans,

'Louisiana 70118 (“Short Street Property”) as more fully described as follows:

THAT PORTION OF GROUND, together with all the
improvements thereon and all the rights, ways, privileges, servitudes
and advantages and'appurtenances thereunto belonging or in anywise
appertaining, situated in the SEVENTH DISTRICT of New Orleans,
in SQUARE 83, (Old Square 22) bounded by Short, Maple, Hampson
and Fern Streets, designated by the Letter “E” on a blue print of survey
by Gilbert & Kelly, Surveyors, dated May 10, 1939, according to which
said lot commences at a distance of 95 feet,- title (95 feet, 2 inches, 2
lines, actual) from the corner of Short and Maple Streets and 180 feet,
title (180 feet, 10 inches, 6 lines, actual) from the corner of Short and
Hampson Streets and measures thence, in the direction of Hampson
Street, 45 feet and measures thence, in the direction of Hampson Street,
45 feet front on Short Street, same width in the rear, by a depthbetween
equal and parallel lines of 120 feet and is composed of the whole of
Original Lot 6 and adjoining half of the original Lot 5.

And in accordance with a survey of Guy J. Segliers, C.E.&S., dated
November 11, 1954, a copy of which is annexed to another act of
undersigned Notary, of even date herewith, said portion of ground is
situated in the same district and square as above, has the same
boundaries, the same measurements from the corner of Maple and
Short Streets, the same front, depth and width above described, is
designated by the same Letter “E” which consists of the whole of Lot
6 and a portion ofLot 5, but is a distance of 135 feet ll inches, 22 lines,,
actual of 135 feet (plan) from the comer ofHampson and Short Streets.

Improvements thereon bear municipal number 721-723 Short Street,
New Orleans, Louisiana 70118. '
7.
Based upon information and belief, Lambert and Stead were married prior to

December, 1998.

_ Case 2:18-cV-O2117-KDE-I\/| BN Document 1-2 Filed 02/28/18 Page 3 of 24
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`i
i On or about December 18, 1998, Lambert executed personal guarantees and an
endorsement binding him individually to a $250,000 promissory note payable to M.S. Rau
Antiques for the benefit of a business La.rnbert owned in part. The enforcement of this
individual guarantee is currently being prosecuted in a separate case in the Civil District
Court for the Parish of Orleans Docket No. 2014-5478, Division “N”, which was filed on
June13,2014.

9.

ln 2010, the $250,000.00 promissory note was defaulted upon by its maker, New
Orleans Auction Galleries, Inc., and, later, in April of 2011, New Orleans Auction
Galleries, Inc. filed for bankruptcy

l 0.

ln or about February, 2011, M.S. Rau placed Lambert along with other guarantors
on notice of the default and demanded payment for the $250,000 promissory note for which
Lambert had provided his personal guarantee

l l.

ln or about`February of 2014, M.S. Rau again contacted Larnbert to demand
payment pursuant to the guarantees M.S. Rau filed suit to enforce the guarantees in June
of 2014.

12.

Upon information and belief, in or about February of 20 14 Lambert began the
disposal of assets iri fraud of the rights of his creditor, M.S. Rau, knowing that Judgrnent on
the $250,000 promissory note was likely to be entered against him.

13.

The purpose of the asset transfers was to deplete the assets of Lambert’s estate in

order to injure and avoid the rights of his creditors, such as M.S. Rau.
14.

ln or about April of 2014, knowing that a Judgment was likely to be entered against
him, Lambert contacted the former attorneys of New Orleans Auction Galleries to request
copies of the loan transaction documents and further requested recommendations for an

attorney to represent him.

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Case 2:18-cV-O2117-KDE-I\/|BN Document 1-2 Filed 02/28/18 Page 4 of 24
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13.

On May 2, 2014, Lambert and Stead executed a “Quitclaim Deed” purporting to
transfer all of Lambert’s interest in the Short Street Property to Stead (See attached Exhibit
“1”). This Quitclaim Deed was entered into with the intent of depriving M.S.'Rau of its
rights as Lambert’s creditor to execute on his property.

14.

Upon information and belief, the “Quitclaim Deed” was made without
consideration with the primary purpose of depicting Lambert’s estate of assets to the
detriment of his creditors.

15.

Upon information and belief, beginning in or about February of 2014, Lambert,
Stead, and J ane/J olin Doe all participated in a series of transfers of Lambert’s assists
intended to deplete Lambert’s estate to the detriment of his creditors, including M.S. Rau.

16.

Iii or about October of 2016, M.S. Rau learned of Lambert and Stead’s quitclaim
deed transfer of the Short Street Property.

17.

In December of 2016, Lambert was deposed in connection with enforcement of
Lambert’s individual guarantees to M.S. Rau and testified that he had no recollection of the
$250,000 promissory note.

18.
Lambert was also questioned at deposition about the Short Street Property
Quitclaim Deed, but Lambert refused to answer any questions.
19.

Lambert has sought to delay the final resolution of the case against him in Civil
District Court for the Parish of Orleans Docket No. 2014~5478, Division “N“ by delaying
depositions, obfuscating facts, filing needless continuances and making unreasonable and
unsupported discovery demands. Lambert’s delays may cause the resolution of the

principal action to be delayed beyond the three year peremptive period for revocatory

actions.

Case 2:18-cV-O2117-KDE-I\/| BN Document 1-2 Filed 02/28/18 Page 5 of 24
'l.
"i
' 20.

With the three year time period from the act or acts that form the basis of this suit
rapidly approaching, the instant suit is filed to avoid further depletion o_f Lambert’s estate
and revoke any transfers occurring within the three year period.

21.
This action is filed within one year from the discovery of Lambert’s Quitclaim
Deed.
Count I. Coiiveyance in Fraud of Creditors
22.
M.S. Rau incorporates by reference the allegations in the preceding paragraphs
23.
As a result of the actions of Lambert, Stead,_ and Jane/John Doe after Lambert’s
obligations to M.S. Rau arose, Lambert’s insolvency has increased.
24.
M.S. Rau has been prejudiced, injured, and damaged as a result of the actions of
' Larnbert, Stead and Jarie/John Doe that impoverished the Lambert estate and make
collection of any judgment more difficult
25.

Lambert is believed to have no other assets, and if the Quitclaim Deed is enforced
according to its terins, he will be insolvent. Stead knew of Lambert’s insolvency or v
threatened insolvency and accepted the transfer of rights for the Short Street Property in
order to gain an illegal preference over M.S. Rau and defeat the its rights.

26.
The Quitclaim Deed described above should be declared annullity, and the clerk of court
and ex officio recorder of conveyances should be ordered to cancel and erase it.

27.
M.S. Rau files this suit prior to any judgment being entered against Lambert in order to

inten'upt tlie prescriptive and peremptive periods and consistent with the holding in Lewz`s

 

v. Hood, 97~cA-2118 (La. App. 1st cir. 1998) 721 so.zd 1078.

27.

Case 2:18-cV-O2117-KDE-I\/|BN Document 1-2 Filed 02/28/18 Page 6 of 24

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M.S. Rau seeks to have this proceeding stayed pending the resolution of the principal

claims against Lambert made in Case No. 2014-5478 before this Court.

WHEREFORE, M.S. Rau Antiques, LLC respectfully prays that:

1) This case be stayed pending the conclusion of the principal matter filed as Civil

District Court for the Parish of Orleans Docket No. 2014-5478, Division “N”;

2) Atter due proceedings in Case No. 2014-547 8 and Sidney Lambert is cast in

Judgment for the $250,000 promissory note, any and all acts of exchange

between Sidney O. Larnbert, Robin A. Stead, and Jane/.Tohn Doe be annulled,

declared legally fraudulent, and revoked, including, but not limited to that

certain Quitclaim Deed recorded on May 2, 2014 with the Clerk of Civil

District Court for the Parish of Orleans Conveyances as lnstrument Number

2014-16504.

3) lt be granted all other just and equitable relief.

SheriffPlease Serve:

Sidney O. Lambert
721 Short Street
New Orleans, LA 70118

Robin A. Stead
721 Short Street
New Orleans, LA 70118

Please hold service for Jane/John Dde

Respectfully submitted,

LEEFE, GrBBs, sULleAN & DUPRE,
LLC -

 

 

Ml

JAMES K. STICKER III, La. BarNo. 33392
3900 North Causeway Blvd.

One Lakeway Center, Suite 1470

Metairie, LA 70002

Telephone: (504) 830-393_9

Facsimile: (504) 830-3998

Case 2:18-cV-O2117-KDE-I\/|BN Document 1-2 Filed 02/28/18 Page 7 of 24
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deposed and who declared:~that lie has been married twice;.=first to;‘Rsi`ssa;Rouse,.=`f'rom'whon'i'.he
was=.d_`lvorced by Judgment 'o"f the Civil DistrictiCourt,'of O`rle`_'a'n`s, in the matter “Raissa.Ror'ise~'i/l
_Siclney'l O. Lambert”, docket lno. P86-1`4"0:`80; DRS 1#2; dated Qctober"Zl, 1,986';` and second t"o
_ROBIN` A. S’I`EA-D`, with whom,he§is presently;married, said’3rr,iarriage having taken place-on'-tli`e
30th day o`_t`. May; 199,_8,--jin=‘the_ Parish ot`Oi"leans,,, Sta_te'of Loui`siana and'tcgeth'er residing at472'-l'-\
mahon street N¢w orleans 'Louisiana`,. 7,01_.1 s.

FURTHER`, SIDNEY O. .LAMBERT,~ declared the.he. and' ROBIN"` -A.` :`ST_EAD acquired
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-o`f'-M`a`y;. 1997-, prior‘-"t`o' their marriage; and that for good an'd 'yaluable consideration, receipt o'f
which'is hereby acknowledged he does hereby sell, ti'ansfer, -assi"gn', qu`itcl`léi'i`rii= and relinquish-
un"to~-hi§ wife,.ROBlN A. STEAD, tlieentiré`ty of liis,rlght, title,_.and"inter_e`st in the l`r`e'al property,;
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Exli. "1'"

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Case 2:18-cV-02117-KDE-I\/|BN Document 1-2 Filed 02/28/18 Page 11 of 24

ATTORNE\"S N.;\ME: I.eel`e, Ricltiit'd K 07544

 

AND ADDRESS: 3900 N Causeway Blvd, Suite 1470 , Metairie, LA 70002-1101
CIWL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA
NO: 2017-00987 DIVIS!ON: N SECTION: 08

M.S. RAU ANTIQUES, L.L.C.
Versus
LAMBER'I', SIDNEY O. ET~AL

CITA'I`ION
TO: LAMBERT, SIDNEY O. ET AL
721 SHORT STREET, NEW ORLEANS, LA 70118

YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
PETITION FOR REVOCATORY AQTION

a certified copy of which accompanies this citatioii, or t'ile nn answer or other legal pleading in the office ofthc
Clerk of this Court, Room 402, Civil Courts Builcling, 421 Loyola Avenue, Ncw Orleans, LA, within fifteen (15)
'," days after the service hereof under penalty ofdefault.
" ADi)iTioNAL iNFoRMATioN

Legal assistance is advisable If you want o lawyer and can't find one, you may call the Ncw Orleans
Lawyer Refemil Service at 5 04-561 -8828. This Rcferral Service operates in conjunction with the Ncw
Orleans Bar Association. lf you qualify, you may be entitled to free legal assistance through Southeast
louisiana Legal Services (SLLS) at 877-521~6242 or 504-529-1000.

********coURT PERSONNEL ARE NoT PERMiTTnn To GivE LEGAL Anvicn********

IN WlTNESS HEREOF, l have hereunto set my hand and affix the seal ot` the Civil District Court for the
Parish of Orleans, State of LA Fel)ruary 1, 2017

Clerk's Office, Room 402, Civll Courts
421 Loyola Avcnue

 

 

 

 

 

 

 

 

 

 

 

New Orleans, LA
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ON MMBERT, SIDNE\' O. ET Al. ON LAMBERT, SlDNEY O. E'I` AL
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Case 2:18-cV-02117-KDE-I\/|BN Document 1-2 Filed 02/28/18 Page 12 of 24

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A'ITORNEY'S NAME:

Leel`e, Richtird K 07544
AND ADDRESS:

3900 N Catiseway Blvd, Suite 1470 , Metairie, LA 70002-1101
. CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
S'I`ATE OF LOUISIANA

DlVISION: N
M.S. RAU ANTIQUES, L.L.C.

NO: 2017-00987 SECTION: 08
Versus

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LAMBERT, SIDNEY O. ET AL

CITATION
TO: LAMBERT, SIDNEY O. ET AL
721 SHORT STREET, NEW ORLEANS, LA 70118
YOU HAVE BEEN SUED:

Yoti must either comply with the demand contained in the
PETlTION FOR REVOCATORY ACTION

 

a certified copy of which accompanies this citation, or t'ile an answer or other legal pleading in the office ofthe

Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA, within i'i&ecn (15)
q days after the service hereof under penalty ot` default

ADDITIONAL lNFORMATION
Legal assistance is advisabl

e. if you want a lawyer and can‘t find one, you may call the Ncw Orleans
Lawyer Referml Service at 504-561-8828. This Referral Service operates in conjunction with the New

Orleans Bar Association. lf you qualify, you may be entitled to free legal assistance through Southeast
Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-1000.
**"‘*****COURT PERSONNEL ARE NOT PERMlTTED TO GIVE LEGAL ADVICE********
IN WITNESS HEREOF, 1 have hereunto set my hand and affix the seal of the Civil District Court for the
Parisli of Orleans, State of LA Februai'y 1, 2017
Clerk‘s Ot`t'ice, Room 402, Civil Courts

421 Loyola Avenue
New Orleans, 'LA

    

 

 

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PETlTlON FOR REVOCATORY ACTION
ON LAMBERT, SlDNEy O. ET AL
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Case 2:18-cV-02117-KDE-I\/|BN Document 1-2 Filed 02/28/18 Page 13 of 24

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Case 2:18-cV-O2117-KDE-l\/1BN Document 1-2 Filed 02/28/18 Page 14 of 24

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NO:2017-l1(1987 DiVlSlON; N SECTlON: 08
i\\'l.S. RAU AN'I'IQUES, L.L.C.

 

Vci'sus
LAi\‘lBERT. SlDNEY (). E'i` AL

Cl‘l`i\'l` 1 0 N
TO: S'l`EAD, ROBIN A.
721 SHORT S'[`REE'l`, NEW ORLF.¢\NS, L/\ 70118

YOU HAVE BEEN SUED:
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La\vyci' Rcl`cri'iil Service nl 504~5()1-8828. This Rct`cii'al Scr\rice t.)pcrzitcs in conjunction with the Ncw
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Clerk‘s Ol`llcc, 1'{0011\ 402, Civil Ci')ui‘ts Di\LE N. ATKINS. Clerk 01`

421 1.0yolii Avcnuc 'l`lic Clvll District Court

Ncw Orleans, LA for the I’nrtsh otOrlciins
Stntc otLA

by ___________
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St-IERIFF'S RETURN
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Case 2:18-cV-02117-KDE-I\/|BN Document 1-2 Filed 02/28/18 Page 15 of 24

ATTORNEY’S NAME: Leel`e, Richnrd K 07544

 

AND ADDRESS: 3900 N Causeway Blvd, Suite 1470 , Metairie, LA 70002-1101
CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISlANA
NO: 2017-00987 DIVISION: N SECTION: 08
M.S. RAU ANTIQUES, L.L.C.
Versus

LAMBERT, SIDNEY O. ET AL

ClTATION
TO: STEAD, ROBIN A.
721 SHORT STR_EET, NEW ORLEANS, LA 701 18

YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
PETlTION.FOR REVOCATORY ACTION

a certified copy of which accompanies this citation, or tile an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA, within fifteen (15)
days aher the service hereof under penalty of defaolt.

ADDlTIONAL lNFORl\"lATION
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********COURT PERSONNEL ARE NOT PERMlTTED TO G[VE LEGAL ADVICE"""******

IN WlTNESS HEREOF, 1 have hereu`nto set my hand and affix the'seal of the Civil District Court for the
Porlsh of Orleans, State of LA Fehruary 1, 2017

 

Clerk's Office, Room 402, Civil Courts

 

 

 

 

 

 

 

 

 

 

 

 

421 Loyola Avenue
New Orleans, LA
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(t'or use of` proc-ss servers only)
PERSONAL SERV|CE DOM|ClL|ARY SERVICE
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ON STEAD, ROB|N A. ON SI`EAD, ROHlN A.
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Case 2:18-cV-02117-KDE-I\/|BN Document 1-2 Filed 02/28/18 Page 16 of 24

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Leel`e, Richiind K 07544
3900 N Canseway Blvd, Suite 1470 , Metairie, LA 70002-1 101

CIV[L DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOmSlANA

DIVISION: N
M.S. RAU ANTIQUES, L.L.C.

ATTORNEY'S NAME:
AND ADDRESS:

NO: 2017-00987 SECTION: 08

Versiis

LAMBERT, SIDNEY O. ET AL

CITATION
TO: , STEAD, ROBIN A.
721 Sl‘IORT STREET, NEW ORLEANS, LA 701 18
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**"""*”'**COURT PERSONNEL ARE NOT I’ERM[TTEI) T 0 Gl`VE L`EGAL ADVI.CE*.******"'

IN WlTNESS HEREOF, l have hereunto set my hand and affix the seal of the Civil District Court`for the
Parish ofOrleaiis, Statc of LA Feliriiary 1, 2017 "

Clerk‘s Ot`ficc, Room 402, Civil Courts
421 Loyr)la Avenue

 

 

 

 

New Orleans, LA
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Dcpiiiy Slicrll`l`uf name niid other facts coruteclcd with this service l learned by interrogating
_ HlM/HER the said STEAD, ROD!N A. being absent t‘rom the domicile itt time of
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Case 2:18-cV-02117-KDE-I\/|BN Document 1-2 Filed 02/28/18 Page 17 of 24

 

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Case 2 18 cv 02117 KDE-I\/|BN l Document 1-2 Filed 02/28/18 Page 18 of 24

LEEFE, GI'.B'BS, SULLIVAN & DUPRE L L C

Attorneys and Counse/ors at Law
oNE i_,}ti<EwAY cEN'rER, surrE 1470
3900 rioter cAuszAY BoULEvARi)

` JAMES P. SCREEN (1914-1994)
METAIRIE, LOUlSlANA 70002
TELEPHONE: (504) 830-3990

Writer’s E-Mnll Address:
TELEpHONE; (504) 330_3939 mrgt':lder@leefeglbb§.€om
TELECOP[ERZ. (504) 830-3998

MICHAEL R. GELDER*

March 15‘}‘, 2017
Orleans SherifPs Ofiice
Civil Division
421 Loyola Avenue,
New Orleans, LA 70112

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..-.)v:_'i ___
`~i;. °" i"'i'i
Re: M.S. Rau Antiques, LLC v. Sidney Lambert & Robin SteaH" 'U
Civil District Court, Docket # 2017-987, Div “N 8” t\)
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Dear Sheriff:

l
Please reissue service on the defendants at the following addresses

Sidney Lambert at his place of employment *personal service only*
Crescent City Auetion Galleries

1330 St. Chai'les Avenue
New Orleans, LA7013O

Robin Stead at her place of employment *personal service only*
Tulane University School of Architecture

6823 St. Charles Avenue, #116b
New Orleans, LA 70118

Sincerely,

MRG/ans
Cc:

   

/\i\ W ltd

OUR ATTORNE¥S ARE ADMITTED TO PRACTICE lN ONE OR MORE OF THE FOLLOWING:

LOUISIANA AND FLORIDA. QWW (M'\(£

Case 2:18-cV-O2117-KDE-I\/|BN Document 1-2 Filed 02/28/18 Page 19 of 24

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i)l\"lSlON: N

SECTION: 08

M.S. RA U A.\‘T lQUlSS. l..l,.(f.

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TO: |{t)iilN Sl'E/\l') :‘\'l` HER l’[_./\CE t')l" EMl'i,OYlvlliNl` 'l’l:`.RS(`)N/\L SEl{\/lCE ONLY*
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You must either comply with the demand contained iii thel

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a certified copy ot` which accompanies this citation. or tile an answer or other legal pleading in the ot`l`tee ol`the
Clerk oftlii>' Court. bloom »l()l'_ Civil Courts Building, 421 l.oyola A\'cnuc, t ‘cw Orleans` LA, within Fit`iecn t 15)

days after the service hereof under penalty ol`del`atilt.

 

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Legnl assistance is advisable lfyou want zi lawyer and can't lind onu. you may call the Ncw Orleans
Lawycr l{cl`t'mil Scrtice at 5()-1~5()1-."<5€28. This Rcl`crml Service operates in conjunction with thel Ncw
Orleans liar A,~..\ociation. ll` you qtiitlii`y, you may he entitled to |'rt‘c legal assistance through Southeast
Louisiana Lepal Sen'iccit (SLLS) at 877-521~6242 or 504~52‘)-10(1().
**“'**"**C(')URT l’l‘ll{S()NNEl. ARE N()T Pl".Rt\ll'l`TEl) 'l`() Gi\’l'l l.EGAL AD\*'ICE******“*

 

IN Wl"l`NESS lll'll*{l~`.()l", l have hereuittn set my hand and iil'flx the seal nfllit‘ Civil District Court for the

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Case 2:18-cV-02117-KDE-I\/|BN Document 1-2 Filed 02/28/18 Page 20 of 24

AT'I`ORNEY'S NAME: Gelder, Mich:iel R 30210

 

AND ADDRESS: 3900 N. Cattseway Blvd Suite 1470, Metairie, LA 70002
CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
l STA'I`E OF LOUISlANA
NO: 2017-00987 D[VISION: N SECTION: 08 l

M.S. RAU ANTIQUES, L.L.C.
Versus
LAMBERT, SIDNEY 0. ET AL

CITATION
TO: ROB[N STEAD AT HER PLACE OF EMPLOYMENT *PERSONAL SERVICE ONLY*
TULANE UNIVERS!TY SCHOOL OF ARCHITECTUR_E, 6823 ST. CHARLES AVENUE,
#116B, NEW ORLEANS, LA 70118
YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
PET[TION FOR REVOCATORY ACTION

a certified copy ofwhich accompanies this citation, or file an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Courts Btiilding, 421 Loyola Aveniie, New Orleans, LA, Within fitieen (15)
days alier the service hereof under penalty of default

ADDITIONAL INFORMATION

Legai assistance is advisable. If you want rt lawyer and can't find one, you may cull the Ncw Orleans
Lawyer Referral Service at 504-561~8828. This Referral Service operates in conjunction with the Netv
Orleans Bar Association. If you qualify, you may be entitled to free legal assistance through Southeast
Louisiuna Legal Services (SLLS) at 877-521-6242 or 504-529~1000.

*******"'COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********

IN WITNESS| HEREOF, I have hereunto set my hand and at`lix the seal ofthe Civil District Court for the
Parish of Orleans, Stiite of LA July 25, 2017

 

Clerk's Oft`ice, Room 402, Civil Courts DALE N. ATKlNS, Clerk ot`
421 Loyola Avenue Tlie Civil District Court

Ncw Orleans, LA for the I’arish of(_)i‘lerins

   
 
  

 

  

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Case 2:18-cV-02117-KDE-I\/|BN Document 1-2 Filed 02/28/18 Page 21 of 24

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Tt`): SIDNEY LAMBHRT A'l` HIS I‘LAC!.€ ()F Et\‘tl’l_()Yi\*ltiN‘l` ‘|’I’LRS(`)NAL SERV|CE ()N LY*
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I’ET|Tl(')N FOR Rti\x'()t".t\’l`(`)RY ACTlON
n ccrti['u.'d copy t)t‘whit'|\ nccnmpunics this citatiun, or tilc an answer nr other legal pleading in the office ot`thc
Clerk nt`thi.»; Court. l`<mnn 4()2. Ci\‘il CourL~' Building, 421 Lnyn\;i A\'cnuc, Ncw (`)rlcuns. LA, within fifteen ( iS)
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Clerk's OIT|ct:. Rntnn 4(|2, Cl\-‘ll (`fuurts l)»\l.l<'; N. A'I`KtNS, (,‘lurk of
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Case 2:18-cV-O2117-KDE-I\/|BN Document 1-2 Filed 02/28/18 Page 22 of 24

ATTORNEY'S NAME:
AND ADDRESS:

Gelder, Michael R 30210

3900 N. Caiisewiiy B|vd Suite 1470» Metairie, LA 70002

CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA

NO: 2017-00987

DlVlSION: N

SECT[ON'. 08

M.S. RAU ANTIQUES, L.L.C.

Vcrsus

LAMBERT, SlDNEY O. E'I` AL

CITATION

TO:

SIDNEY LAMBER'I` AT HIS PLACE OF EMPLOYMENT *PERSONAL SERVICE ONLY*

CRESCEN'I` CITY AUCTION GALLERIES, 1330 ST. CHARLES AVENUE, NEW

ORLEANS, LA 70]30
YOU HAVE BEEN SUED:

You must either comply with the demand contained in the

PETIT]ON FOR REVOCATORY ACTION

a certified copy of which accompanies this citation, or file an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Cotirts Building, 421 Loyola Avenue, New Orleans, LA, within fifteen (15)

days after the service hereof under penalty of default.

ADDITIONAL lN FORMATION

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***"’****COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********

 

IN WlTNESS HEREOF, I have hcreunto set my hand and affix the seal of the Civil District Court for the

Parish of Orleans, State of LA July 25, 2017

Clerk's 0f`fice, Room 402, Civil Courts
421 Loyola Avenue
New Orleans, LA

DALE N. ATKINS, Clerk of
The Civil District Court
for the Parish of Orleans

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by
Mallk Haley, Deputy erk

SHERIFF'S RETURN

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Case 2:18-cV-O2117-KDE-I\/|BN Document 1-2 Filed 02/28/18 Page 23 of 24

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CIVIL DISTRICT coURT FOR THE PARISH 0F oRLEA'E§[ . q _' t
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SIDNEY LAMBERT, ROBIN STEAD,
& JANE/JOHN DOE

FILED:

 

 

DEPUTY CLERK
MOTION FOR EXTENSION OF TIME

NOW IN'I`O .COURT, through undersigned counsel, come Sidney Lambert and Robin
Stead, and without waiving"any defenses and/or objections to the Petition for Revocatory Action,
request a thirty (3 0) day extension of time from the date the Order is signed in which to file
responsive pleadings This is Sidney Lambert and Robin Stead 's first request for an extension of
time.

WHEREFORE, the Motion considered;

.IT IS ORDERED that Sidney Lambert and Robin Stead be and arc_hereby granted a thirty
(3 O) day extension of time from the date the Order is signed in which to respond to the Petition for

Revocatory Aotion.

 

IUD'GE

Respectfully s bmitted,

  

 

Lisa A. Montgon‘iery (Bar o. 1 36)
Montgomery Law `Finn

400 Poydras St., Suite 900

New Orleans, Louisiana 70130
Telephone: (504) 267-9401
Facsimile: (504) 814-4291

CER'I`IFICATE OF SERVICE
l HER.EBY CER'I.`IFY that I electronically mailed the fore oing pleading to all counsel of

record on the 16"’ of August, 2017.

 

Case 2:18-cV-O2117-KDE-I\/|BN Document1-2 Filed 02/28/18 Page2 of 24

  

 

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No. 2017-987 mn ‘§§/PV{§IOLN mw l i
M.s. RAU ANTIQUES, L.L.c. 915 TR;~`C/¥léO{/R
versus

SIDNEY LAMBERT, ROBIN STEAD,
& JANE/JOHN DOE

FILED:

 

 

DEPUTY CLERK

MOTION FOR EXTENSION OF TIME
NOW INTO COURT_, through undersigned counsel, come Sidney Lambert and Robin
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J U D G E
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JUDGE
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Respectfully s bmitted, '
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Lisa A. Morrigoinery (Bar o. 1 36) '
Montgomery Law Firm
400 Poydra.s St., Suite 900
Ncw Orleans, Louisiana 70130
Facsimile: (504) 814~4291
CERTIFICATE OF SERVICE

I HEREBY CERTIFY that I electronically mailed the fore oing pleading to all counsel of

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Telephone: (504) 267-9401

   

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